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                                                   :   UNITED STATES BANKRUPTCY COURT
    In re:                                         :   FOR THE DISTRICT OF NEW JERSEY
    SHAPES/ARCH HOLDINGS L.L.C., et                :   CHAPTER 11
    al.,                                           :
                 Debtors.                          :   CASE NO. 08-14631 (GMB)
                                                   :
                                                   :


              DEBTORS’ OBJECTION SEEKING ORDER TO PARTIALLY
              RECLASSIFY ADMINISTRATIVE CLAIM OF ALCOA, INC.
                       TO GENERAL UNSECURED CLAIMS
           Shapes/Arch Holdings L.L.C. and its related debtor entities (collectively, the

    “Debtors”),1 the debtors and debtors-in-possession, hereby submit this objection (the

    “Objection”), pursuant to 11 U.S.C. §§ 105 and 503 of the Bankruptcy Code, seeking an

    Order partially reclassifying the administrative expense claim of Alcoa, Inc. (“Alcoa”), in

    the amount of $97,015.14 to general unsecured status. In support of the Objection, the

    Debtors respectfully represent as follows:




    1
      In addition to Shapes/Arch Holdings L.L.C. (“Shapes/Arch”), the following entities, all of
    which are wholly owned subsidiaries of Shapes/Arch, also filed petitions on the Petition Date
    (defined below): Shapes L.L.C. (“Shapes”); Delair L.L.C. (“Delair”); Accu-Weld L.L.C. (“Accu-
    Weld”); and Ultra L.L.C. (“Ultra”).
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                                          BACKGROUND

                                               General

            1.        On March 16, 2008 (the “Petition Date”), the Debtors filed their respective

    petitions for relief under Chapter 11, Title 11 of the United States Code (the “Bankruptcy

    Code”). The Debtors are authorized to continue to operate and manage their properties

    as debtors-in-possession pursuant to 11 U.S.C. §§ 1107(a) and 1108.

            2.        These cases are being jointly administered pursuant to this Court’s Order

    of March 18, 2008 under the lead debtor “Shapes/Arch Holdings L.L.C.”

            3.        No trustee or examiner has been appointed in these cases.

            4.        An official committee of unsecured creditors (the “Committee”) was

    appointed on March 31, 2008, and has been active in these cases since that time.

            5.        The Court has jurisdiction over this Objection pursuant to 28 U.S.C. §

    1334.   Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.               This is a core

    proceeding pursuant to 28 U.S.C. § 157(b)(2).


                                   Schedules And Proofs Of Claim

            6.        On the Petition Date the Debtors filed their Statements of Financial

    Affairs, Schedules of Assets and Liabilities and Schedule of Executory Contracts and

    Unexpired Leases (the “Bankruptcy Materials”.)

            7.        Pursuant to this Court’s order, dated March 18, 2008, the Debtors retained

    Epiq Bankruptcy Solutions, L.L.C. (the “Claims Agent”) as their official claims and

    noticing agent.
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           8.      On March 18, 2008, this Court entered an order pursuant to Bankruptcy

    Rules 2002(a)(7) and 3003(c)(3) establishing the deadline for proofs of claim and

    approving the form and manner of notice thereof [Dkt. No. 35] (the “Bar Date Order”).

           9.      Pursuant to the Bar Date Order, the deadline for all persons and entities to

    file proofs of claim against the Debtors for claims that arose on or prior to the Petition

    Date was May 15, 2008.

           10.     On May 19, 2008, the Debtors filed a motion to set a bar date for filing

    administrative expense claims (the “Administrative Claim Bar Date Motion”) that arose

    on or prior to June 15, 2008 including, without limitation, claims allegedly entitled to

    administrative expense treatment under Section 503(b)(9) of the Bankruptcy Code.

           11.     On May 28, 2008, the court entered an Order granting the Administrative

    Claim Bar Date Motion and fixed June 30, 2008 as the deadline to file administrative

    expense claims.

                 Approval of the Disclosure Statement and Bidding Procedures

           12.     On May 12 and 13, 2008, respectively, the Debtors filed their Second

    Amended Joint Plan (the “Second Amended Plan”) and disclosure statement. Although

    the Debtors, Arch and the Committee had not agreed on all of the terms of the Second

    Amended Plan, it was filed in order to avoid a default under the terms of the Arch

    Amended DIP Agreement.         The Second Amended Plan provided for a competitive

    process by which third parties would have an opportunity to conduct due diligence and

    participate in an auction to purchase the equity interests in Shapes/Arch (and thus obtain

    ownership of the equity interests in all of the Debtors) prior to the confirmation hearing.
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           13.     On May 12, 2008, the Debtors filed a motion for approval of bid

    procedures (the “Bid Procedures Motion”) to:          (a) control the method by which

    potentially interested bidders would be able to obtain due diligence, (b) provide the

    procedures for parties submitting competing bids to follow, and (c) schedule and provide

    procedures for an auction, if qualified bids are submitted.

           14.     On May 20, 2008, the Court granted the Bid Procedures Motion, which

    required all competing bids to be submitted no later than June 25, 2008, and scheduled an

    auction for June 27, 2008, if qualified bids are submitted.

           15.     On May 23, 2008, the Court approved the disclosure statement (the

    “Disclosure Statement”) in support of the Debtors’ Third Amended Joint Plan (the “Third

    Amended Plan”). The Third Amended Plan was filed after the Debtors, Arch and the

    Committee had resolved the issues that had been outstanding at the time the Second

    Amended Plan was filed. A hearing to consider confirmation of the Third Amended Plan

    is scheduled for July 22, 2008.


                                 Administrative Claim of Alcoa
           16.     On or about June 24, 2008, Alcoa filed proof of claim #785 seeking a

    Section 503(b)(9) administrative claim in the amount of $194,933.85 for goods received

    by Delair within twenty (20) days prior to the Petition Date for which Delair allegedly

    has not made payment, pursuant to Section 503(b)(9) of the Bankruptcy Code (“Alcoa’s

    Alleged Administrative Claim”).


                                         RELIEF REQUESTED
           17.     By this Objection, Debtors seek entry of an order, pursuant to U.S.C. §§

    105 and 503 partially reclassifying Alcoa’s Alleged Administrative Claim, as identified
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    on Exhibit “A”, as a general unsecured claim, because a portion of Alcoa’s claim that

    may be entitled to administrative priority under Section 503(b)(9) of the Bankruptcy

    Code was, in fact, paid by Delair prior to the Petition Date.


                                  BASIS FOR RELIEF REQUESTED
           18.     The Debtors and their advisors have reviewed Alcoa’s Alleged

    Administrative Claim.     Based upon such review, the Debtors have determined that

    payment was made in full to Alcoa for two (2) of the four (4) shipments received within

    the twenty (20) days immediately prior to the Petition Date.

                                          Applicable Authority

           19.     Section 503(b)(9) of the Bankruptcy Code provides in pertinent part:

                   Allowance of administrative expenses.
                   (b) After notice and a hearing, there shall be allowed
                   administrative expenses, other than claims allowed under
                   section 502(f) of this title, including –
                   (9) the value of any goods received by the debtor within 20
                   days before the date of commencement of a case under this title
                   in which the goods have been sold to the debtor in the ordinary
                   course of such debtor’s business.
    11 U.S.C. § 503(b)(9).
           20.     As further set forth on Exhibit “A”, Alcoa’s Alleged Administrative Claim

    indicates that the following invoices and corresponding amounts for goods received by

    Shapes within twenty (20) days of the Petition Date are due and owing from Shapes:: (i)

    invoice #49455689 in the amount of $65,849.99; (ii) invoice #49455659 in the amount of

    $32,068.72; (iii) invoice #49455424 in the amount of $63,348.04; and, (iv) invoice

    #49455338 in the amount of $33,667.10.
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           21.     However, the Debtors’ books and records reflect that prior to the Petition

    Date, invoice #49455424 and invoice #49455338 in the combined amount of $97,015.14,

    was paid or otherwise satisfied in full. The voucher to Debtors’ check no. 055554 clearly

    indicates that amount was to pay invoices #49455424 and invoice #49455338.

           22.     As a general proposition, a creditor who is owed more than one debt by a

    debtor may apply the payments to the debtor's account in any manner it chooses so long

    as the debtor has not issued specific directions to the contrary. Craft v. Stevenson

    Lumber Yard, Inc., 179 N.J. 56, 72, 843 A.2d 1076, 1085 (2004) (citing United Orient

    Bank v. Lee, 208 N.J. Super. 69, 72 n.1, 504 A.2d 1215, 1217 (App. Div. 1986)). See

    also First National Bank v. United States, 591 F.2d 1143 (5th Cir. 1979) (if an individual

    who owes two debts to the same creditor makes a payment to that creditor, he has a right

    to designate the debt to which the payment shall be applied if he manifests his desire

    before or at the time of payment.)

           23.     Restatement (Second) of Contracts (1981) § 258 provides for the

    “Payment Application Rule” as follows:

                 (1) except as stated in Subsection (2), as between two or more
                 contractual duties owed by an obligor to the same obligee, a
                 performance is applied according to a direction made by the
                 obligor to the obligee at or before the time of performance.

                 (2) If the obligor is under a duty to a third person to devote a
                 performance to the discharge of a particular duty that the obligor
                 owes to the obligee and the obligee knows or has reason to know
                 this, the obligor's performance is applied to that duty.

    Restatement 2d of Contracts, § 258.

           24.     The Restatement (Second) of Contracts (1981) §259 allows a creditor to

    apply payments from a debtor as follows:
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                 (1) Except as stated in Subsection (2) and (3), if the debtor has not
                 directed application of a payment as between two or more matured
                 debts, the payment is applied according to a manifestation of
                 intention made within a reasonable time by the creditor to the
                 debtor.

                 (2) A creditor cannot apply such a payment to a debt if

                   (a) the debtor could not have directed its application to that debt,
                   or,

                   (b) a forfeiture would result from a failure to apply it to another
                   debt and the creditor knows or has reason to know this, or (c) the
                   debt is disputed or is unenforceable on grounds of public policy.
    Restatement 2d of Contracts, § 259. The New Jersey Supreme Court quoted and relied

    upon these sections of the Restatement in Craft.

           25.     In this instance, the invoices for which the 503(b)(9) Payments were made

    were specifically identified by Shapes in the voucher to Debtors’ check no. 055554

    indicating that the amount was to pay invoice #49455424 and invoice #49455338.

    Shapes clearly states which delivery and/or invoice it intended to pay with each of the

    503(b)(9) Payments. Therefore, the payment made by Shapes paid or otherwise satisfied

    in full the invoices claimed in Alcoa’s Alleged Administrative Claim.           Apparently,

    despite clear direction by Shapes, Alcoa misapplied the 503(b)(9) Payments to older

    invoices.

           26.     Had Alcoa applied the 503(b)(9) Payments as directed by Shapes, then

    Alcoa’s Alleged Administrative Claim would have been filed (and allowed) as a general

    unsecured claim. For the foregoing reasons, the Debtors request that the Court enter an

    Order reducing Alcoa’s Administrative Claim to $97,918.71 and directing the Claims

    Agent to modify the Claims Registry accordingly.
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                                         RESERVATION
           27.     The Debtors hereby reserve the right to file later objections to any amount

    of Aloca’s Administrative Claim that has not be expunged or disallowed on any grounds

    that bankruptcy or non-bankruptcy law permits. Separate notice and hearing will be

    scheduled for any such objections.

                                             NOTICE

           28.     Notice of this Motion has been provided to: (a) counsel for CIT, (b)

    counsel for Arch, (c) the Office of the United States Trustee, (d) Paul Kopatich at Alcoa,

    Inc. at the address specified on the Proof of Claim, and (e) all parties on the Master

    Service List. In light of the nature of the relief requested herein, the Debtors submit that

    no further notice is necessary.


           WHEREFORE, the Debtors respectfully request that the Court approve an order

    granting the relief requested and such other and further relief as is just and proper.


    Dated: July 21, 2008                           COZEN O’CONNOR

                                                   By:       /s/ Jerrold N. Poslusny, Jr.
                                                         Mark E. Felger
                                                         Jerrold N. Poslusny, Jr.

                                                         Attorneys for the Debtors
